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                                                                      Appendix

                                                                      The Deals

     Announcement   Ticker     Entity              Type                 Price     IB – Gonzalez          Schwab –       Tasty –     IB-Abellan
     Date                                                             Change      Approx. Profit   Abellan Approx.    Gonzalez    Approx. Profit
                                                                                                             Profit    Approx.
                                                                                                                         Profit
1    9/10/20        MD         MEDNAX, Inc.        Acquisition by      5.42%            $526.15
                                                   Radiology
                                                   Partners
2    9/10/20        ITCI       Intra-Cellular      Pricing of stock   -10.89%           $226.52
                               Therapies, Inc.     offering
3    9/16/20        SYNH       Syneos Health,      Pricing of         -10.23%          $1,230.37
                               Inc.                secondary
                                                   offering
4    9/17/20        FSLR       First Solar, Inc.   Pricing of         -11.06%          $5,224.01
                                                   secondary
                                                   offering
5    9/21/20        ACEL       Accel               Proposed           -16.06%           $814.55
                               Entertainment,      offering of
                               Inc.                stock
6    10/1/20        TRTN       Triton              Pricing of          -7.06%          $1,945.31
                               International,      secondary
                               Ltd.                offering
7    10/1/20        AMAG       AMAG                Tender offer by    45.21%         $36,694.23
                               Pharmaceuticals,    Covis Group
                               Inc.
8    10/2/20        ARA        American Renal      Acquisition by     66.47%         $36,924.22
                               Associates          Nautic Partners
                               Holdings, Inc.
9    10/13/20       COLD       Americold           Pricing of          -1.51%          $1,053.36
                               Realty Trust        forward
                                                   common share
                                                   offering

10   10/27/20       EQH        Equitable           Reinsuring          9.03%           $2,245.72
                               Holdings, Inc.      legacy variable


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     Announcement   Ticker     Entity             Type                 Price   IB – Gonzalez          Schwab –        Tasty –     IB-Abellan
     Date                                                            Change    Approx. Profit   Abellan Approx.     Gonzalez    Approx. Profit
                                                                                                          Profit     Approx.
                                                                                                                       Profit
                                                  annuity policies
                                                  to Venerable
11   11/2/20        EIGI       Endurance          Acquisition by     61.96%         $6,468.90
                               International      Clearlake
                               Group Holdings,    Capital Group
                               Inc.
12   11/16/20       HDS        HD Supply          Tender offer by    24.46%       $15,550.79
                               Holdings, Inc.     The Home
                                                  Depot
13   1/11/21        LMND       Lemonade, Inc.     Proposed           -5.60%                             $476.04
                                                  offering of
                                                  stock
14   1/12/21        VNT        Vontier Corp.      Proposed            1.18%                           $1,188.46
                                                  secondary
                                                  offering
15   1/12/21        AMWL       Amwell             Proposed           -3.96%                             $793.71
                                                  offering of
                                                  stock
16   1/14/21        CRSA       Crescent           Merger (SPAC        8.94%                                          $400.81
                               Acquisition        deal) with
                               Corp.              LiveVox
17   1/19/21        AZEK       The Azek           Public offering    -1.42%                                         $1,410.79
                               Company, Inc.      of stock
18   1/25/21        TSIA       TS Innovation      Merger (SPAC       44.79%                                         $5,322.93
                               Acquisitions       deal) with
                               Corp.              Latch, Inc.
19   1/26/21        DCT        Duck Creek         Public offering    -7.15%                           $1,246.68
                               Technologies       of stock
                               Inc.
20   2/1/21         VIE        Viela Bio, Inc.    Tender offer by    52.26%                           $7,009.53
                                                  Horizon
                                                  Therapeutics
21   2/3/21         GWPH       GW                 Acquisition by     44.53%                                        $70,484.27
                               Pharmaceuticals,   Jazz
                               plc                Pharmaceuticals


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     Announcement   Ticker     Entity             Type                 Price   IB – Gonzalez          Schwab –        Tasty –      IB-Abellan
     Date                                                            Change    Approx. Profit   Abellan Approx.     Gonzalez     Approx. Profit
                                                                                                          Profit     Approx.
                                                                                                                        Profit
22   2/8/21         SNPR       Tortoise           Merger (SPAC       33.64%                                        $27,260.12
                               Acquisition        deal) with Volta
                               Corp. II           Industries
23   2/8/21         ARYA       Arya Sciences      Merger (SPAC       100.09%                           $8,368.67
                               Acquisition        deal) with
                               Corp. III          Nautilus
                                                  Biotechnology
24   2/8/21         GLUU       Glu Mobile, Inc.   Acquisition by     34.93%                                         $8,872.35
                                                  Electronic Arts
25   2/8/21         CLF        Cleveland-         Pricing of          -8.14%                          $7,935.52
                               Cliffs, Inc.       public offering
26   2/16/21        CHGG       Chegg, Inc.        Public offering     -7.63%                          $6,654.99
                                                  of stock
27   2/22/21        CTB        Cooper Tire &      Acquisition by     29.40%                          $12,730.92
                               Rubber Co.         Goodyear Tire
28   2/23/21        DMYI       dMY                Bloomberg          18.95%                           $1,496.96
                               Technology         article about
                               Group III          DMYI in talks
                                                  to merge
                                                  (SPAC deal)
                                                  with IonQ
                                                  (officially
                                                  announced on
                                                  3/9/21)
29   2/24/21        AONE       one                Merger (SPAC       20.88%                                         $1,625.87
                                                  deal) with
                                                  MarkForged
30   3/5/21         NCLH       Norwegian          Public offering    -12.31%                                       $15,464.83
                               Cruise Line        of stock
                               Holdings Ltd.
31   3/15/21        STAY       Extended Stay      Acquisition by     13.40%                          $10,072.50
                               America, Inc.      Starwood
                                                  Capital
32   3/15/21        CFX        Colfax             Public offering     -4.77%                          $2,436.75
                               Corporation        of stock


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     Announcement   Ticker     Entity             Type                Price   IB – Gonzalez          Schwab –        Tasty –      IB-Abellan
     Date                                                           Change    Approx. Profit   Abellan Approx.     Gonzalez     Approx. Profit
                                                                                                         Profit     Approx.
                                                                                                                       Profit
33   3/15/21        MAXR       Maxar              Public offering    -8.07%                                        $4,855.03
                               Technologies,      of stock
                               Inc.
34   3/16/21        FTCV       FinTech            Merger (SPAC      42.76%                           $3,246.60
                               Acquisition        deal) with
                               Corp.              eToro Group
35   3/16/21        ARRY       Array              Launch of         -12.05%                                       $10,641.82
                               Technologies,      secondary
                               Inc.               offering
36   3/25/21        QS         QuantumScape       Pricing of         -3.85%                            $821.79                        $286.74
                               Corp.              public offering
37   4/6/21         UPST       Upstart            Follow-on         -12.63%                           $1,716.07                       $204.81
                               Holdings, Inc.     offering
38   4/12/21        NI         NiSource, Inc.     Equity offering    -0.97%                                        $2,306.40         $5,071.90
39   4/25/21        SEAH       Sports             Merger (SPAC        4.50%                       $4,132.22                          $5,554.64
                               Entertainment      deal) with
                               Acquisition        SGHC Limited
                               Corp.
40   4/26/21        PFPT       Proofpoint, Inc.   Acquisition by    31.05%                                        $30,696.33       $32,825.28
                                                  Thoma Bravo
41   5/3/21         MAAC       Montes             Merger (SPAC       0.91%                            $1,489.36                      $1,093.52
                               Archimedes         deal) with
                               Acquisition        Roivant
                               Corp.              Sciences Ltd.
42   5/18/21        LAD        Lithia Motors &    Proposed public    -7.43%                                       $28,651.95       $24,276.13
                               Driveway           offering of
                                                  stock
43   5/24/21        GLOB       Globant S.A.       Proposed public    -0.62%                            $563.41                       $1,952.83
                                                  offering of
                                                  stock
44   5/24/21        WOOF       Petco Health       Secondary          -2.24%                          $1,507.46                       $1,329.83
                               and Wellness       offering of
                               Co.                shares
45   5/25/21        PACK       Ranpak             Public offering    -9.28%                          $4,310.25                       $4,034.45
                               Holdings Corp.     of stock


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Announcement   Ticker     Entity       Type                  Price   IB – Gonzalez          Schwab –         Tasty –     IB-Abellan
Date                                                       Change    Approx. Profit   Abellan Approx.      Gonzalez    Approx. Profit
                                                                                                Profit      Approx.
                                                                                                              Profit
                                               TOTALS                  $108,904.13         $78,197.89    $207,993.50      $76,630.13
                                              (approx.):

                                                GRAND                  $471,725.65
                                                TOTAL
                                              (approx.):




                                                               5
